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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

WILLIAM HEMMINGS,

         Plaintiff,                                        Case No. 1:18-cv-2036

v.                                                         Hon. Jorge L. Alonso

INSYS THERAPEUTICS, INC.,
a Delaware corporation,

         Defendant.


     NOTICE OF BANKRUPTCY FILING AND IMPOSITION OF AUTOMATIC STAY

         PLEASE TAKE NOTICE that on June 10, 2019, (the “Petition Date”), Insys

Therapeutics, Inc. and its debtor affiliates, as debtors and debtors in possession (collectively, the

“Debtors”), each commenced a voluntary case (the “Chapter 11 Cases”) under chapter 11 of

title 11 of the United States Code (11 U.S.C. § 101 et seq.) (the “Bankruptcy Code”) in the

United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”). The

Chapter 11 Cases are being jointly administered under Case No. 19-11292 (KG).

         PLEASE BE ADVISED that pursuant to section 362(a) of the Bankruptcy Code (the

“Automatic Stay”), the filing of a bankruptcy petition “operates as a stay, applicable to all

entities,” of, among other things “the commencement or continuation, including the issuance or

employment of process, of a judicial, administrative, or other action or proceeding against the

debtor that was or could have been commenced before the commencement of the case under [the

Bankruptcy Code], or to recover a claim against the debtor that arose before the commencement

of the [bankruptcy] case” and “any act to obtain possession of property of the estate or of

property from the estate or to exercise control over property of the estate.”             11 U.S.C.

§ 362(a)(1), (3). Accordingly, unless the action is subject to one of the exceptions to the


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automatic stay set forth in 11 U.S.C. § 362(b), the above-captioned matter has been

automatically stayed pursuant to section 362(a) of the Bankruptcy Code.

         PLEASE BE FURTHER ADVISED that any action taken against the Debtors without

obtaining, from the Bankruptcy Court, relief from the Automatic Stay is void ab initio and may

result in a finding of contempt for violation of the Automatic Stay. The Debtors reserve and

retain their statutory right to seek relief in the Bankruptcy Court from any action by Plaintiff(s)

or any judgment, order, or ruling entered in violation of the Automatic Stay.

         In the event the Court or any parties have questions regarding the Chapter 11 Cases,

please contact counsel for the Debtors:

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                            -and-

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Dated: June 10, 2019

                                                       INSYS THERAPEUTICS, INC.

                                                       By: /s/ Adam P. Schwartz
                                                               One of its attorneys

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                                   CERTIFICATE OF SERVICE

         The undersigned attorney hereby certifies that on June 10, 2019 he caused the above

notice to be filed electronically with the court, which will cause a copy of the document and

notification of the filing to be sent to all counsel of record.

                                                          /s/ Adam P. Schwartz
                                                          Attorney for Insys Therapeutics, Inc.




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